Case 1:04-cv-01197-.]DT-STA Document 27 Filed 05/31/05 Page 1 of 2 Page|D 18

 

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MARYLAND CASUALTY coMPANY, W?L§H§FU?;S£ DIST cr
Piaimiir,
VS. ` Civil Action No. 04-1197-T

L & H SUPPLY COMPANY, INC.,
ET AL.

Defendants.

 

ORDER GRANTING JOINT MOTION TO AMEND
THE JOINT SCHEDULING ORDER

L}

 

Upon Joint Motion of Plaintif’f and Defendants, filed on this __ day of May, 2005, and
for good cause shown, this Court GRANTS the Joint Motion of counsel, to amend the Joint`¥
Scheduling Order and ORDERS that parties have an additional period, up to and including lane
20, 2005, within which to conclude discovery. "

IT IS THEREFORE ORDERED, AD.TUDGED AND DECREED that the current
deadline for discovery of May 2, 2005, as set out in the Joint Scheduling Order, be and the same

is hereby amended to June 20, 2005 to conclude discovery.
so oRDERED rhis£ day of March, 2005.

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UN`ITED STATES BI'S"PR§G-T JUDGE

Dated this day of May, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

